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By email only:jrmquinteros@gmail.com

April 8,2019


Dear Ms. Quinteros:


This letter serves to memorialize the details of our attorney-client relationship and confirms that
your matter, Quinteros v. Burlington Coat Factory, is closed with this firm.

I first came into contact with you through the law firm of Dhali & Reimer PLLC. You signed a
retainer with this law firm in late summer 2018. On January 17, 2019,1 established the law firm
of Reimer Law PLLC. On or around January 17, 2019,1 alerted you that I was no longer at Dhali
& Reimer PLLC and that my departure had signaled the dissolution of Dhali & Reimer PLLC. I
made sure you knew you had the choice to either sign a new retainer with Reimer Law PLLC,
stay with Dhali PLLC, or find other counsel. You chose to sign a new retainer with Reimer Law
PLLC on January 19, 2019.

According to my records, on March 8, 2019 you let me know in writing that I would no longer
be serving as your counsel. For the time period of January 19- March 8, 2019 there were no
filings due in court and 1 did not perform any substantive work on your case for which I am
seeking payment. Additionally, I am not seeking any form of payment from you for any work
performed while I was at Dhali & Reimer PLLC. I have returned all the documents I have related
to your file and have closed your case. I wish you all the best in your legal case. Again, I
recommend contacting MWELA attorneys in order to find new counsel as soon as possible at
https://www.mwela.Qrg/find-a-lawyer.


Sincerely,



Stacie Reimer
